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                                https://www.nytimes.com/2023/03/18/us/politics/trump-indictment-arrest-protests.html




Trump Claims His Arrest Is Imminent and Calls for Protests, Echoing Jan. 6
His indictment by a Manhattan grand jury is expected, but its timing is unclear.

By Maggie Haberman, Jonah E. Bromwich, Ben Protess, Alan Feuer and William K. Rashbaum
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With a Manhattan grand jury indictment likely but its timing unclear, Donald J. Trump sought to rally supporters to his side, declaring that he would be arrested on Tuesday and calling for
protests.

Mr. Trump made the declaration on his site, Truth Social, at 7:26 a.m. on Saturday in a post that ended with, “THE FAR & AWAY LEADING REPUBLICAN CANDIDATE AND FORMER
PRESIDENT OF THE UNITED STATES OF AMERICA, WILL BE ARRESTED ON TUESDAY OF NEXT WEEK. PROTEST, TAKE OUR NATION BACK!”

Two hours later, a spokesman issued a statement saying that Mr. Trump had not written his post with direct knowledge of the timing of any arrest, adding, “President Trump is rightfully
highlighting his innocence and the weaponization of our injustice system.”

But Mr. Trump’s social media post had immediate impact: Within hours, Speaker Kevin McCarthy, one of the most powerful people in federal government and who partly owes his position to Mr.
Trump, posted on Twitter that he was calling for investigations into whether federal funds were being used for “politically motivated prosecutions,” a thinly veiled threat to Manhattan’s district
attorney, Alvin L. Bragg.

A spokeswoman for the district attorney’s office declined to comment.

Prosecutors working for Mr. Bragg have signaled that an indictment of Mr. Trump could be imminent. But they have not told Mr. Trump’s lawyers when the charges — expected to stem from a
2016 hush money payment to a porn star — would be sought or an arrest made, people with knowledge of the matter said. At least one more witness is expected to testify in front of the grand jury,
which could delay an indictment, the people said.

One of the people said that even if the grand jury were to vote to indict the former president on Monday, a Tuesday surrender was unlikely, given the need to arrange timing, travel and other
logistics.

The statement from Mr. Trump’s spokesman did not explain how he had landed on Tuesday as an arrest date. One person with knowledge of the matter said that Mr. Trump’s advisers had guessed
that it could happen around then, and that someone might have relayed that to the former president.

A lawyer for Mr. Trump, Susan R. Necheles, said that his post had been based on news reports, and accused the Manhattan district attorney’s office of conducting a “political prosecution.”

Mr. Trump, who declared his third presidential campaign in November and is leading his Republican opponents in most polls, faced his first criminal investigation in the late 1970s. He has been
deeply anxious about the prospect of an arrest, which is expected to include being fingerprinted, one of the people said.

When the Trump Organization’s former chief financial officer, Allen H. Weisselberg, was arrested in 2021, Mr. Trump watched in horror as television news showed Mr. Weisselberg flanked by
officers in the courthouse, and the former president said he couldn’t believe what was happening.

Mr. Trump’s post on Saturday urging his supporters to protest and reclaim the nation carried unmistakable echoes of the incendiary messages he posted online in the weeks before the attack on
the U.S. Capitol. In the most notorious of those messages, posted on Dec. 19, 2020, he announced on Twitter that he would hold a rally in Washington on Jan. 6. “Be there,” he told his millions of
followers. “Will be wild.”

At that rally, on the Ellipse near the White House, Mr. Trump told supporters to march to the Capitol, where the certification of the 2020 presidential election was taking place. He is under
investigation by federal prosecutors for his activities before the attack.
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Investigators later determined that far-right extremist groups as well as ordinary Trump supporters had read his tweet as a clear-cut invitation. They almost immediately sprang into action,
acquiring protective gear, setting up encrypted communications channels and, in one case, preparing heavily armed “quick reaction forces” to be staged outside Washington for the event.

Leaders of groups like the Proud Boys and the Three Percenter militia movement also started to whip up members with bellicose language, and their private messaging channels were
increasingly filled with plans to rush to Mr. Trump’s aid.

On Friday evening, Mr. Trump’s campaign announced what could be his first rally after an indictment: an event in Waco, Texas, where deadly clashes between federal officials and an extremist
religious sect occurred 30 years ago around this time.

Early Saturday evening, Mr. Trump attended the N.C.A.A. wrestling championships in Tulsa, Okla., where he was greeted with cheers and chants of “USA! USA!” Inside the arena, Mr. Trump
shook hands with supporters, posed for selfies with members of the audience and met with some of the wrestlers.

Despite Mr. Trump’s unpredictable nature, several members of his legal team have said that they expect him to surrender.

New York officials have been discussing security arrangements at the Manhattan Criminal Court in case of an indictment, according to people with knowledge of the planning, which was first
reported by NBC News. Mr. Trump is expected to be charged in connection with the hush money payment his former fixer and lawyer, Michael D. Cohen, made to the porn star Stormy Daniels,
who claimed to have had an affair with Mr. Trump.

Mr. Cohen made the $130,000 payment to Ms. Daniels to bury her story of the affair.

The payment came in the run-up to the 2016 presidential election, and Mr. Trump subsequently reimbursed Mr. Cohen. Prosecutors are expected to accuse Mr. Trump of overseeing the false
recording of the reimbursements in his company’s internal records. The records falsely stated that the payments to Mr. Cohen were for “legal expenses.”

There have been several signals that charges may be imminent: The prosecutors gave Mr. Trump an opportunity to testify, a right afforded to people facing indictment, and have questioned
nearly every major player in the hush money saga in front of the grand jury.

Mr. Trump has denied all wrongdoing and denies having had an affair with Ms. Daniels.

Any arrest and processing of Mr. Trump would probably combine the routine steps that every defendant experiences — fingerprinting, photographing — with the pomp accorded to a former
president, whose every move is attended by the U.S. Secret Service.

It is unclear what kinds of accommodations Mr. Trump would receive. It is standard for defendants arrested on felony charges to be handcuffed, but an exception could be made. As he awaits his
court appearance, it is possible that for security reasons, he will be detained in an interview room or another confined area, rather than in a holding cell. And after Mr. Trump is arraigned, he will
almost certainly be released without spending any time behind bars, because the indictment is likely to contain only nonviolent felony charges.

Early Saturday morning, there was little evidence that Mr. Trump’s new demand for protests had been embraced by extremist groups.

But Ali Alexander, a prominent organizer of the “Stop the Steal” rallies following the 2020 election, reposted a message on his Telegram channel on Saturday suggesting that he supported a mass
demonstration to protect Mr. Trump.

“Previously, I had said if Trump was arrested or under the threat of a perp walk, 100,000 patriots should shut down all routes to Mar-a-Lago,” Mr. Alexander wrote. “Now I’m retired. I’ll pray for
him though!”

Without the platform provided by the White House or the machinery of a large political campaign, it was unclear how many people Mr. Trump would be able to reach, let alone mobilize, via Truth
Social.

And it remained unclear whether he would repeat his call for action or increase the stakes with more aggressive language. But his political allies made plain this week that they were preparing
for a political war on Mr. Bragg.

Representative Elise Stefanik of New York, the third-ranking House Republican and another close ally of Mr. Trump’s, said on Saturday morning that the investigation was an “attempt to silence
and suppress the will of the voters who support President Trump and the America First Movement.”
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Yet two of Mr. Trump’s more bombastic Republican allies, Representatives Marjorie Taylor Greene of Georgia and Matt Gaetz of Florida, declined to repeat his call for protests. Mr. Gaetz offered a
dismissive analysis of the case on Twitter, and Ms. Greene followed by saying, “We don’t need to protest about the Communists Democrat’s planning to arrest” Mr. Trump.

Mr. Trump has been attacking Mr. Bragg, who is Black, as “racist” for months. Mr. Bragg won a conviction for tax fraud against the Trump Organization last year, though he did not charge Mr.
Trump personally.

Some of Mr. Trump’s supporters responded of their own accord with violence after F.B.I. agents, acting on a search warrant, descended on Mar-a-Lago, his private club and residence in Florida, in
August and carted away boxes of documents in an investigation into the former president’s handling of classified material.

Days after the search, an armed Ohio man who had posted online about his outrage over what happened at Mar-a-Lago tried to breach the F.B.I.’s field office outside Cincinnati. He was later killed
in a standoff with local officers.

The unexpected Saturday morning salvo from the former president provided a preview of the kind of chaos that Mr. Bragg is likely to face if he proceeds with an indictment.

Mr. Bragg, a former federal prosecutor and deputy New York attorney general, has some history of prosecuting public officials. But he is unaccustomed to dealing with a figure as high-profile,
erratic and pugilistic as the former president, and it is unclear how his office will deal with future outbursts from Mr. Trump.
Ben Fenwick contributed reporting.
